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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :
                                                                       :   20-CR-110 (LJL)
LAWRENCE RAY and ISABELLA POLLOK,                                      :
                                                                       :        ORDER
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X


LEWIS J. LIMAN, United States District Judge:

        It is hereby ORDERED that the proposed schedule appearing at Dkt. No. 219, setting
forth the deadlines related to expert witnesses in the case United States v. Ray, 20-cr-110-LJL-1,
is APPROVED.

        IT IS FURTHER ORDERED that, for the reasons stated by the Court on the record at the
October 19, 2021, Status Conference, the motion of Isabella Pollok for a continuance is
GRANTED and the trials of Lawrence Ray and Isabella Pollok are severed, with Isabella
Pollok’s trial to begin on July 18, 2022. The deadline for Pollok to make any pre-trial motions
required pursuant to Fed. R. Cr. P. 12(b)(3) is November 19, 2021. By October 25, 2021,
counsel for Pollok and counsel for the government shall submit a proposed schedule for the
remaining pre-trial matters, including notices pursuant to Fed. R. Cr. P. 12.1, 12.2. and 12.3 and
expert discovery pursuant to Fed. R. Cr. P. 16, as well as proposed deadlines for service of
witness lists and exhibit lists, and production of Giglio material.

        IT IS FURTHER ORDERED that, for the reasons stated by the Court on the record at the
October 19, 2021, Status Conference, the Court will approve the issuance of the proposed
subpoenas for records relating to medical services rendered to alleged victims Jane Doe 3 and
John Doe 1, to the extent they request records on or before February 11, 2020, the date of Ray’s
arrest. The Court will further approve the issuance of the proposed subpoenas for such records
relating to services rendered before 2010 and thus before Jane Doe 3 and John Doe 1 met Ray,
but the Court will reserve decision on whether those records should be disclosed to defense
counsel until it hears oral argument on the relevance of such records. It is therefore ORDERED
that on January 7, 2022, at 2:30 p.m. in Courtroom 15C at the 500 Pearl Street Courthouse, the
Court will hear argument on the relevance of subpoenaed records that predate 2010. By
December 23, 2021, counsel for Ray shall submit to the Court a letter setting forth its views on
whether the records produced are relevant to this case. The government and counsel for the
alleged victims may reply by January 2, 2022.

        IT IS FURTHER ORDERED that, for the reasons stated by the Court on the record at the
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October 19, 2021, Status Conference, the Court will approve the issuance of the proposed
subpoenas for records relating to medical services rendered to alleged victim Jane Doe 2.
Counsel for Jane Doe 2 will have three weeks from the date the subpoenaed records are
returnable to produce a privilege and relevance log to defense counsel.

       IT IS FURTHER ORDERED that by October 22, 2021, counsel for Ray shall submit a
proposed order addressing Ray’s ability to access his laptop at the Metropolitan Detention
Center. The government shall meet and confer with counsel for Ray regarding the terms of such
order.

       SO ORDERED.


Dated: October 19, 2021                            __________________________________
       New York, New York                                     LEWIS J. LIMAN
                                                          United States District Judge




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